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 1   Milord A. Keshishian, SBN 197835
     milord@milordlaw.com
 2   Stephanie V. Trice, SBN 324944
     stephanie@milordlaw.com
 3   MILORD & ASSOCIATES, P.C.
 4
     10517 West Pico Boulevard
     Los Angeles, California 90064
 5   Tel: (310) 226-7878
 6   Attorneys for Plaintiff
     Beyond Blond Productions, LLC
 7
 8
                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
11
     BEYOND BLOND PRODUCTIONS, LLC,                 Case No.: 2:20-cv-5581
12   a California limited liability company;
13                                                  COMPLAINT FOR:
                Plaintiff,
14                                                  1. 17 U.S.C. § 512(f)
15              vs.                                    Misrepresentation
                                                    2. Declaration of Copyright
16
     EDWARD HELDMAN III, an individual;                Invalidity, Unenforceability, and
17   COMEDYMX, INC., a Nevada corporation;             Non-Infringement
18   COMEDYMX, LLC, a Delaware limited              3. Trademark Invalidity,
     liability company; and DOES 1-10;                 Unenforceability, and Non-
19                                                     Infringement
20              Defendants.                         4. Tortious Interference With
                                                       Existing & Prospective Economic
21                                                     Advantage
22                                                  5. Trade Libel/Product
                                                       Disparagement
23
                                                    6. Section 17200 Unfair Competition
24
25                                                  JURY TRIAL DEMANDED
26
27
28



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 1         Plaintiff BEYOND BLOND PRODUCTIONS, LLC (“Beyond Blond”) sues
 2   Defendants EDWARD HELDMAN III (“Heldman”), COMEDYMX, INC. (“Com-Inc.”),
 3   and COMEDYMX, LLC (“Com-LLC”), collectively referred to as “ComedyMX,” and
 4   DOES 1-10 and alleges:
 5                                        INTRODUCTION
 6         ComedyMX has a history of issuing bad-faith Digital Millennium Copyright Act
 7   takedown notices over cartoon classics, works that are in the public domain, and sham
 8   intellectual property rights it does not possess. ComedyMX has previously been sued in
 9   this District for similar bad-faith takedown notices, and has even been sued for copyright
10   infringement. Despite its unclean hands, ComedyMX has also sued other third-parties for
11   issuing takedown notices against ComedyMX’s distribution of public domain works.
12   During the COVID-19 pandemic while consumers were sheltering at home and viewing
13   Beyond Blond’s compilation of public domain cartoon classics, ComedyMX devised
14   another bad-faith DMCA takedown scheme to usurp Beyond Blond’s viewers by forcing
15   Amazon to disable six of Beyond Blond’s videos. When called to task to prove
16   ComedyMX’s prenotification investigation of copyright infringement to support good
17   faith takedown notices, ComedyMX’s counsel could only muster up a false claim that its
18   copyright registration covered its generic “cartoon classics” words displayed on the
19   screen, which it also claimed to be its trademark despite being merely generic. Because
20   Amazon refused to enable Beyond Blond’s video content based on its counternotification,
21   it is left with no other choice but seek the Court’s intervention to prevent ComedyMX’s
22   knowingly material misrepresentation.
23
24                                          THE PARTIES
25         1.     Plaintiff Beyond Blond is a California limited liability company having a
26   principal place of business in Los Angeles, California.
27         2.     Defendant Heldman is an Arizona resident, but does business in and with
28   the State of California and, in particular, within this District, including filing a currently



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 1   pending lawsuit against his former counsel for malpractice in an underlying case where
 2   Heldman was countersued for filing a false DMCA takedown notice, styled Heldman v.
 3   Zerner, Case 2:19-cv-08185-GW-PJW (C.D. Cal. 2019). Heldman contracted with
 4   counsel in Pasadena, California to represent him, Com-Inc., and Com-LLC in the Zerner
 5   matter, subjecting himself to jurisdiction in this District. At all relevant times, Heldman
 6   was the active driving force behind the improper conduct of the ComedyMX entities,
 7   including filing the false takedown notices. In filing the false takedown notices,
 8   Heldman agreed to be bound by the jurisdiction of the district courts where Beyond
 9   Blond resides, i.e., the Central District of California, and he was the key decision maker
10   in filing the false takedown notices in bad faith as they were objectively and subjectively
11   baseless. Heldman was also the driving force and decision maker in retaining Los
12   Angeles, California based counsel to file, in this District, a false DMCA takedown claim
13   in the case styled ComedyMX LLC v. Broadbandtv Corp., et al., Case 2:20-cv-00260-
14   SVW-JPR (C.D. Cal. 2020). Heldman was also the driving force and decision maker in
15   retaining Los Angeles, California based counsel to file, in this District, a trademark
16   infringement claim in the case styled ComedyMX LLC v. Weliver, Case 2:20-cv-01947-
17   RGK-PVC (C.D. Cal. 2020).
18          3.     Defendant Com-LLC is a Delaware limited liability company, and lists its
19   principal place of business at a P.O. Box in New Jersey. At all relevant times, Com-LLC
20   conducted business in California and, specifically, in this District, including by being a
21   party to all the litigation recited above. In filing the false takedown notices, Com-LLC
22   agreed to be bound by the jurisdiction of the district courts where Beyond Blond resides,
23   i.e., the Central District of California.
24          4.     Defendant Com-Inc. is a Nevada corporation, and lists its principal place of
25   business in Carson City, Nevada. Heldman is listed as Com-Inc.’s president, secretary,
26   treasurer, and director and is the active force behind all of its improper conduct. At all
27   relevant times, Com-Inc. conducted business in California and, specifically, in this
28   District, including by being a party to the currently pending Zerner litigation recited



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 1   above and ComedyMX, Inc. v. St. Clair, et al., Case 2:16-03249-AGR (C.D. Cal. 2016).
 2   In filing the false takedown notices, Com-Inc. agreed to be bound by the jurisdiction of
 3   the district courts where Beyond Blond resides, i.e. the Central District of California.
 4         5.     Defendants DOES 1 through 10, inclusive, are other parties not yet
 5   identified who have contributed to the false DMCA takedown notice filings, or have
 6   engaged in one or more of the wrongful acts alleged herein. The true names, whether
 7   corporate, individual, or otherwise of DOES 1 through 10, inclusive, are presently
 8   unknown to Beyond Blond, and therefore, are being sued by such fictitious names, and
 9   Beyond Blond will seek leave to amend this Complaint to include their true names and
10   capacities when the same have been ascertained.
11        6.      Beyond Blond is informed and believes, and on that basis alleges, that at all
12   times relevant to this action, each of the Defendants was the agent, affiliate, officer,
13   director, manager, principal, alter-ego, and/or employee of the remaining Defendants
14   and was at all times acting within the scope of such agency, affiliation, alter-ego
15   relationship and/or employment, and actively participated in or subsequently ratified and
16   adopted, or both, each and all of the acts or conduct alleged herein with full knowledge
17   of each and every violation of Beyond Blond’s rights and the damages to Beyond Blond
18   proximately caused thereby.
19                                JURISDICTION AND VENUE
20         7.     This action arises under the laws of the United States and the Copyright Act
21   of 1976 (17 U.S.C. § 101, et seq.) and Section 43(a) of the Lanham Act, 15 U.S.C. §§
22   1125, and as such, the Court has subject matter jurisdiction over this action pursuant to
23   28 U.S.C. §§ 1331, 1338, 2201, and 2202. The state law claims arise from the same
24   common nucleus of operative facts and transactions, such that they form part of the same
25   case or controversy and Beyond Blond would ordinarily be expected to try them all in a
26   single judicial proceeding. Accordingly, this Court may exercise supplemental
27   jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
28        8.      The Court has personal jurisdiction because Defendants engaged in multiple



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 1   intentional acts of filing false DMCA takedown notices and engaging in Lanham Act
 2   unfair competition expressly aimed at California and this District, which have caused
 3   harm to Beyond Blond in this District. Defendants, by filing false DMCA takedown
 4   notices, agreed to in the district courts of Beyond Blond’s principal place of business.
 5   Defendants were fully aware of Beyond Blond’s rights and its principal place of
 6   business within this District. Defendants are subject to jurisdiction in this District
 7   because they transact substantial business in California and this District, including:
 8                (a)    marketing, selling, and delivering a substantial amount of the videos
 9                       at issue in the state of California and this District, thereby
10                       purposefully engaging businesses and consumers in California for
11                       their own commercial gain;
12                (b)    engaging distributors and retailers in this District to distribute the
13                       videos, including YouTube, and using Defendants’ websites to direct
14                       consumers to distributors located in this District; and
15                (c)    engaging counsel in this District to file numerous lawsuits in this
16                       District.
17        9.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§1391(b),
18   (c), and 1400(a) because Defendants conduct regular business in this District by
19   advertising, selling, promoting, and directing videos to consumers in this District, filing
20   and maintaining numerous lawsuits in this District, and a substantial part of the events or
21   omissions giving rise to the claim occurred in this District.
22
23                            FACTS COMMON TO ALL COUNTS
24         10.    Beyond Blond is a woman owned small business that nimbly and efficiently
25   helps content owners leverage their music and video catalogs into new and different
26   product offerings for digital distribution.
27         11.    Beyond Blond uses its established relationships with top digital providers,
28   like Amazon and Google, to help conform the works to platform specifications, as well as



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 1   create targeting metadata and artwork for effective conversion rates.
 2         12.    Beyond Blond, for its own business, also acquires and purchases public
 3   domain videos and cartoon classics, makes compilations of same, and lists the works on
 4   video streaming platforms, including Amazon.com’s Prime Video Direct.
 5         13.    Beginning in late 2016 and/or early 2017, Beyond Blond acquired BetaSP
 6   tapes and other sources of cartoon classics, including Bugs Bunny, Popeye, and Mighty
 7   Mouse, and began digitizing and editing the same with a deck captured to a computer.
 8   The cartoon classics compilations were then formatted to comply with Amazon Video
 9   streaming specifications. The cartoon classics compilations where then uploaded to
10   Amazon Video on the corresponding dates:
11         Cartoon Classics #1         February 17, 2017
12         Cartoon Classics #2         February 28, 2017
13         Cartoon Classics #3         April 14, 2017
14         Cartoon Classics #4         August 18, 2017
15         Cartoon Classics #5         February 16, 2018
16         Cartoon Classics #6         May 17, 2019
17
18         14.    Beyond Blond’s quality digitization became popular with viewers seeking to
19   watch cartoon classics and Beyond Blond began receiving substantial revenue from
20   Amazon for customers streaming, renting, and purchasing videos.
21         15.    Defendants are Beyond Blond’s direct competitors who create compilations
22   of cartoon classics and stream the same on video hosting platforms. Defendants’ videos
23   are of inferior quality and have received negative reviews, whereas Beyond Blond’s
24   videos have received positive reviews.
25         16.    Defendants, to unfairly compete with Beyond Blond, issued six baseless
26   copyright takedown notices to Amazon to remove Beyond Blond’s six cartoon classics
27   videos on March 20, 2020. Amazon took down the six videos, issuing the following case
28   numbers:



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 1         Cartoon Classics #1         6890999701
 2         Cartoon Classics #2         6891043541
 3         Cartoon Classics #3         6891006641
 4         Cartoon Classics #4         6890994521
 5         Cartoon Classics #5         6891030291
 6         Cartoon Classics #6         6891048961
 7
 8         17.    The takedown notices were objectively and subjectively meritless and in bad
 9   faith because the cartoon classics videos are in the public domain and could not have
10   infringed Defendants’ copyrights as they were independently compiled.
11         18.    On March 20, 2020, Beyond Blond contacted Defendant Heldman at the
12   email address provided by Amazon as the intellectual property claimant. Instead of
13   responding, Defendant Heldman forwarded the email to his counsel who asked for
14   Beyond Blond’s counsel to contact him.
15         19.    On March 26, 2020, Beyond Blond’s counsel responded to Defendants’
16   counsel asking for the copyright registrations and deposit materials forming the basis of
17   the takedown notices, in addition to Defendants’ “pre-notification investigation report
18   identifying (1) the protectible elements in [Defendants’] work, and (2) the substantial
19   similarity in the protectible elements of the copyrighted works and [Beyond Blond’s]
20   accused works.” A true and correct copy of the correspondence is attached as Exhibit A.
21         20.    On March 26, 2020, Defendants’ counsel responded, claiming that
22   Defendants are the owner of a cartoon classics logo design trademark application,
23   Application Serial No. 88/789,484 (“the ‘484 Application”) filed six weeks earlier, and
24   its logo design was also registered as a copyright under U.S. Copyright Reg. No.
25   PAu003798644 (“the ‘644 Registration”). Counsel also threatened copyright and
26   trademark infringement litigation if Beyond Blond did not cease use of the term cartoon
27   classics. A true and correct copy of the correspondence is attached as Exhibit B.
28         21.    On March 27, 2020, Beyond Blond’s counsel responded pointing out the



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 1   meritless nature of Defendants’ infringement position.
 2               (a)    Beyond Blond informed Defendants that the ‘644 Registration is a
 3                      performing arts copyright registration and only covers “(1) musical
 4                      works, including any accompanying words; (2) dramatic works,
 5                      including any accompanying music; (3) pantomimes and
 6                      choreographic works; and (4) motion pictures and other audiovisual
 7                      works.” It does not cover logos, and the purported cartoon classics
 8                      logo was not listed as a protectible element on the ‘644 Registration.
 9                      Because Defendants failed to provide the registration certificate and
10                      the deposit material, Beyond Blond had to rely on the Copyright
11                      Office’s search result page.
12               (b)    Defendants were also provided with legal authority establishing that
13                      the words “cartoon classics” are generic and not protectable under
14                      copyright or trademark law and the addition of the eyes was not
15                      original and a mere copy of preexisting clip art. Further, Defendants
16                      were informed that, assuming arguendo, they were entitled to
17                      copyright protection, the scope of copyright would be thin and weak
18                      and there is no similarity between Defendants’ and Beyond Blond’s
19                      use of cartoon classics in a generic manner.
20
21
22                      DEFENDANTS
23
24                                                                BEYOND BLOND
25
26               (c)    Defendants were also informed that the term “cartoon classics” is
27                      generic and unprotectable as a trademark because it is used in the
28                      industry to refer to cartoon classics, a genre of older cartoons.



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 1                      Defendants were also provided examples of the generic use of cartoon
 2                      classics in the industry. A true and correct copy of the March 27,
 3                      2020 correspondence is attached hereto as Exhibit C.
 4         22.    Despite the evidence provided proving the baseless nature of Defendants’
 5   infringement claims to Amazon, Defendants refused to retract their takedown notices to
 6   Amazon.
 7         23.    Beyond Blond filed counternotices requesting its six baselessly accused
 8   videos be restored, but Amazon refused to do so unless Defendants withdrew their
 9   notices of infringement.
10         24.    Beyond Blond spent almost two months in Amazon Legal purgatory
11   appealing Amazon’s position and finally received a response to its appeal on May 19,
12   2020 that the six videos would not be restored unless Defendant Heldman withdrew the
13   six infringement notices or without a court order. Defendants have refused to withdraw
14   the baseless infringement takedown notices.
15         25.    Defendant Com-LLC filed the ‘484 Application at the USPTO on February
16   7, 2020 and was forced to disclaim any “EXCLUSIVE RIGHT TO USE ‘CARTOON
17   CLASSICS’ APART FROM THE MARK AS SHOWN.” (emphasis added). Thus,
18   Defendants were fully aware that they did not have the right to exclude others from using
19   the generic cartoon classics term on competing products.
20         26.    Further Defendants also conceded that the “mark consists of the words
21   ‘CARTOON CLASSICS!’ Appearing (sic) in a stylized font where the ‘O’s in
22   ‘CARTOON’ appear as two stylized eyes.” (emphasis added). Based on all these
23   disclaimers, Defendants knew the generic term “cartoon classics” and the modification of
24   the letter “O”s were not protectible, yet baselessly issued a takedown notice which is
25   objectively and subjectively baseless because – assuming any protectible mark – the
26   designs look nothing alike and confusion is unlikely.
27         27.    Amazon’s “Report Infringement” page,
28   https://www.amazon.com/report/infringement, allows the rights owner to select only one



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 1   type of intellectual property as the basis of infringement, even though an accused party
 2   may be infringing more than a single form of intellectual property. Here, although
 3   Defendants are accusing Beyond Blond of infringing both its copyright and trademark,
 4   Amazon only allows one type of intellectual property to be selected. On information and
 5   belief, Defendants may have selected “trademark concerns,” despite lacking federal
 6   trademark registration, which would not have allowed them to also include the copyright
 7   infringement claim that counsel threatened involving the ‘644 Registration. Thus, the
 8   “Report Infringement” claim to Amazon implicitly included a claim of infringement of
 9   the ‘644 Registration.
10         28.    Defendants’ misconduct in their false and baseless takedown notices are a
11   direct and proximate cause of damage to Beyond Blond because Amazon relied on those
12   bad faith notices and disabled Beyond Blond’s six videos and, on information and belief,
13   issued strikes against Beyond Blond’s account. Thus, Beyond Blond has lost its revenue
14   stream from viewers who rented, purchased, and/or streamed the six videos on Amazon’s
15   Video Direct platform.
16         29.    As a result, Beyond Blond faces devastating, irreparable harm to its business
17   due to Defendants’ misconduct. There is an actual and justiciable controversy between
18   the parties concerning infringement by Beyond Blond’s use of the generic cartoon
19   classics term on its videos of cartoon classics and Defendants’ purported trademark rights
20   and copyrights.
21
22                                 FIRST CAUSE OF ACTION
23                     Misrepresentation of Copyright Claims Under the DMCA
24                                       (17 U.S.C. § 512(f))
25         30.    Plaintiff hereby reallege and incorporate the allegations in paragraphs 1
26   through 29 of this Complaint as if fully set forth herein.
27         31.    Section 512(f) of the Copyright Act provides, in relevant part, that “any
28   person who knowingly materially misrepresents under this section . . . that material or



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 1   activity is infringing . . . shall be liable for any damages, including costs and attorneys’
 2   fees, incurred by the alleged infringer . . . who is injured by such misrepresentation, as
 3   the result of the service provider relying upon such misrepresentation in removing or
 4   disabling access to the material or activity claimed to be infringing . . . .”
 5         32.      Defendants’ DMCA notices, submitted by Defendant Heldman, are false
 6   and were false at the time they were filed because Defendants falsely represented that
 7   they owned copyrights in the unprotectable logo for the generic cartoon classics term
 8   and knew that Beyond Blond could not be infringing the ‘644 Registration, which does
 9   not and cannot protect a logo. Defendant Heldman, on behalf of all Defendants,
10   represented in the DMCA notices, under penalty of perjury, that Beyond Blond’s six
11   videos infringed upon the work covered by Defendants’ ‘644 Registration.
12         33.      On March 27, 2020, Defendants received notice in writing that the DMCA
13   notices were false and in bad faith and that Defendants held no copyrights in the logo
14   and that the copyrights were not and could not be infringed. See Exhibit C. Defendants
15   were requested to withdraw the baseless and meritless notices of infringement to
16   Amazon, but Defendants refused.
17         34.      At the time Defendants filed the DMCA takedown notices with
18   Amazon.com, and certainly after they received the May 27, 2020 correspondence
19   attached as Exhibit C, they could not have reasonably believed that they had any
20   copyrights to the logo or that Beyond Blond infringed.
21         35.      By filing the DMCA notices with and refusing to withdraw the same from
22   Amazon.com, Defendants knowingly misrepresented that Beyond Blond was infringing,
23   in violation of 17 USC section 512(f), entitling Beyond Blond to damages for the
24   removal or disabling of access to its six cartoon classics videos.
25         36.      As a result of Defendants’ wrongful conduct as herein alleged, Beyond
26   Blond has been damaged in a sum, the exact amount of which is unknown to Beyond at
27   this time, and Beyond Blond will provide same during the pendency of this matter when
28   ascertained.



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 1                                SECOND CAUSE OF ACTION
 2         (Declaration of Copyright Invalidity, Unenforceability and Non-Infringement)
 3         37.    Plaintiff hereby reallege and incorporate the allegations in paragraphs 1
 4   through 36 of this Complaint as if fully set forth herein.
 5         38.    There is an actual, substantial, and continuing justiciable controversy
 6   between Beyond Blond and Defendants regarding the validity, enforceability, and non-
 7   infringement of the ‘644 Registration and Beyond Blond’s ability to use and display the
 8   six videos along with the term cartoon classics.
 9         39.    Beyond Blond alleges that the ‘644 Registration is invalid and
10   unenforceable because the copyright does not protect the cartoons classic logo, consists
11   of common geometric shapes, unprotectable eyes from the public domain, and is not
12   copyrightable subject matter. And Beyond Blond is entitled to a judicial declaration that
13   the ‘644 Registration is invalid, unenforceable, and not infringed.
14         40.    Beyond Blond is entitled to a judicial determination that Beyond Blond’s
15   six videos and use of cartoon classics to make available for distribution and viewing of
16   its accused six videos and the depiction cartoon classics has not infringed, does not
17   infringe, and would not infringe, either directly or indirectly, any valid, enforceable
18   and/or protectable expression in the ‘644 Registration because (1) Counter-Defendant
19   has not alleged access; (2) the ‘644 Registration does not cover a logo; (3) common
20   geometric shapes, and eyes from the public domain and pre-existing third party artwork
21   are not protectable; and (4) Beyond Blond’s accused six videos and cartoon classics
22   depiction are neither substantially similar nor virtually identical to protectable elements
23   in the ‘644 Registration. Thus, Defendants allegations of copyright infringement are a
24   sham and in bad faith.
25
26                                THIRD CAUSE OF ACTION
27                (Trademark Non-Infringement, Invalidity and Unenforceability)
28         41.    Plaintiff hereby reallege and incorporate the allegations in paragraphs 1-29



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 1   and 37-40 of this Complaint as if fully set forth herein.
 2         42.    Beyond Blond seeks declaratory relief from this Court to prevent
 3   Defendants from hindering competition by monopolizing commonplace and generic
 4   term and generic design for their own exclusive use.
 5         43.    Not only did Defendants concede that cartoon classics is generic in their
 6   trademark application by disclaiming the exclusive right to use same apart from the
 7   specific font design, but their own listings for the cartoon classics on Defendants’
 8   YouTube.com channel establishes the term is generic:
 9
10
11
12
13
14
15
16
17
18
19
20
21         44.    Looney Tunes is a registered trademark of Warner Bros. Entertainment, Inc.
22   and “cartoon classics” is the generic term for Warner’s older cartoons that are mostly in
23   the public domain. Defendants’ use of “cartoon classics” is thus generic for the genre of
24   cartoons it has compiled when generically identifying the video as “Looney Tunes
25   Cartoon Classics.”
26         45.    Long prior to Defendants illicit attempt to monopolize the generic term
27   “cartoon classics” with a generic design, many third parties adopted and used that term
28   alone or with cartoonish designs in a generic sense. Because the dominant portion of



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 1   Defendants use of cartoon classics is the term itself, the entirety of its use is generic.
 2         46.    Defendants accused Beyond Blond of infringing Defendants’ alleged
 3   common law trademark rights in the term cartoon classics plus design based on Beyond
 4   Blond’s use of the generic term cartoon classics in conjunction with common, generic
 5   and widespread use of cartoon eyes.
 6         47.    Defendants use of the generic term cartoon classics in combination with
 7   cartoon eyes for the “oo” letters in cartoon does not constitute trademark use and is not a
 8   source identifier.
 9         48.    As can be discerned from the screenshot above, Defendants use the related
10   8thmandvd.com® trademark to indicate source and the cartoon classics generic term to
11   inform viewers of the type of video shown, i.e., cartoon classics. 8thManDVD.com was
12   registered with the USPTO on October 11, 2016 and awarded Registration No.
13   5,059,117. 8thManDVD.com owns Defendants’ YouTube channel where competing
14   videos are streamed, and the registered trademark 8thManDVD.com is shown in
15   conjunction with Defendants’ term “cartoon classics” plus designs. Because the
16   8thManDVD.com registered trademark is related to the pending ‘484 Application,
17   Beyond Blond requests that this Court order the Defendants to abandon the ‘484
18   Application and any and all applications to register any mark with the words cartoon
19   classics, or anything confusingly similar thereto per 15 U.S.C. §1119, which provides
20   courts jurisdiction to “otherwise rectify the register with respect to the registrations of
21   any party to the action.”
22         49.    Therefore, Defendants cannot claim exclusive rights to use the generic term
23   cartoon classics alone or in combination with a simple design that is ubiquitous and
24   generic in the industry.
25         50.    Because of the generic nature of the “cartoon classics” term and generic
26   design, and the different styles in which the generic terms are presented and used,
27   Beyond Blond does not and cannot infringe Defendants’ nonexistent trademark rights in
28   the generic cartoon classics term.



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 1         51.    Beyond Blond will be damaged by Defendants’ continued assertion that it
 2   has trademark rights in the generic term cartoon classics plus design unless the Court
 3   declares it has no such rights and orders Defendants to abandon the ‘484 Application.
 4         52.    Beyond Blond has no adequate remedy at law.
 5
 6                               FOURTH CAUSE OF ACTION
 7        Tortious Interference with Existing and Prospective Economic Advantage
 8         53.    Beyond Blond restates and incorporates by reference the allegations in
 9   paragraphs 1-29 and 37-52 above.
10         54.    Beyond Blond has valid business expectancies with its e-commerce partners,
11   customers and prospective customers of its products and services. Beyond Blond had a
12   reasonable probability of realizing financial benefit from those customers and prospective
13   customers.
14         55.    Defendants were aware of Beyond Blond’s business expectancies with its e-
15   commerce partners, customers and prospective customers.
16         56.    Defendants have undertaken intentional acts and misrepresentations itemized
17   above to disrupt the economic relationships between Beyond Blond and its e-commerce
18   partners, customers and prospective customers. All of the foregoing actions by
19   Defendants were undertaken with the intention of causing third parties to do business
20   with Defendants rather than with Beyond Blond, to induce said customers and
21   prospective customers to purchase and watch Defendants’ videos instead of purchasing
22   and watching Beyond Blond’s, thereby depriving Beyond Blond of the profits and other
23   benefits to be derived from sales of its falsely accused six videos, and otherwise causing
24   injury to Beyond Blond and its business.
25         57.    At the time Defendants made these material misrepresentations and
26   continued to maintain false and baseless claims of infringement, they knew or should
27   have known the statements were false and the actions groundless because (a) Defendants
28   had no copyrights in the generic word cartoon classics and even adding geometric shapes



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 1   into the “oo” letters in cartoon would not qualify for copyright protection as a matter of
 2   law; and (b) Defendants did not have any trademark rights in the generic term cartoon
 3   classics because of their own generic use thereof, the parties use of the generic term was
 4   not similar, and the addition of ubiquitous geometric eye shapes in place of the “oo”
 5   letters in cartoon was neither protectable nor a source indicator.
 6         58.    By sending baseless takedown notices to Amazon, Defendants intentionally
 7   disrupted Beyond Blond’s established, economic business relationship and prospective
 8   business relationships and advantage. Defendants’ expressions were intended to
 9   discourage e-commerce partners from selling and existing and prospective customers
10   from buying Beyond Blond’s products, causing business reputational and economic harm
11   to Beyond Blond.
12         59.    Beyond Blond is entitled to an award of damages, including an amount up to
13   three times the amount found as actual damages, attorney fees and costs as a result of
14   Defendants’ unlawful actions. Moreover, Beyond Blond will continue to suffer damages
15   as a result of Defendants’ unlawful actions unless they, their officers, agents, servants,
16   employees, attorneys and all persons acting in concert with Defendants are preliminarily
17   and permanently enjoined from continuing such actions and appropriate corrective
18   advertising is awarded.
19         60.    Defendants’ conduct is and has been willful, wanton, malicious, oppressive,
20   and in conscious disregard of Beyond Blond’s rights, justifying the imposition of punitive
21   and exemplary damages under California Civil Code §3294.
22         61.    Defendants threaten to, and unless restrained will disrupt further business
23   with e-commerce partners, existing and potential customers and distributors of Beyond
24   Blond’s products, and/or will further interfere with other existing and potential customers
25   and distributors of Beyond Blond’s products, for which damages would not afford
26   adequate relief, in that they would not completely compensate Beyond Blond for the
27   injury to Beyond Blond’s business reputation and good will.
28



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 1                                  FIFTH CAUSE OF ACTION
 2                              Trade Libel/Product Disparagement
 3                                     (Against All Defendants)
 4            62.   Beyond Blond restates and incorporates by reference the allegations in
 5   paragraphs 1-29 and 37-61 above.
 6            63.   Beyond Blond’s products previously enjoyed a good reputation in the
 7   community. Those products were disparaged by Defendants’ false assertions stated
 8   above when Defendants knew that they did not have any copyrights or any trademark
 9   rights in the generic term cartoon classics and such misrepresentations were in bad faith.
10            64.   Defendants’ assertions were published willfully, without justification, and
11   without privilege to at least one third party through written and verbal communications.
12            65.   Defendants made these statements with knowledge of the statements’ falsity
13   or with reckless disregard of the statements’ truth or falsity.
14            66.   A reasonable person would have foreseen that, under the circumstances,
15   Defendants’ statements would harm Beyond Blond and damage its relationships with e-
16   commerce partners, existing and prospective customers, and Defendants made these
17   statements with the purpose of inducing e-commerce partners, existing and prospective
18   customers of Beyond Blond to refrain from purchasing, renting, and streaming Beyond
19   Blond’s products and doing business with Beyond Blond.
20            67.   Defendants’ false and disparaging statements directly and proximately
21   caused e-commerce partners, existing and prospective customers of Beyond Blond to
22   cease conducting business with Beyond Blond, not to purchase, lease, and stream Beyond
23   Blond’s products, and Beyond Blond has thereby suffered damages in an amount to be
24   proven at trial.
25            68.   Defendant’s publications are ongoing, in that they continue to be published
26   to Beyond Blond’s e-commerce partners, customers and prospective customers because
27   Defendants will not withdraw their baseless takedown notices that were issued in bad
28   faith.



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 1         69.    Money damages will not make Beyond Blond whole for the injury
 2   occasioned by these continuing statements. Unless enjoined by this Court, these false
 3   and damaging statements will continue.
 4         70.    Defendants’ conduct is and has been willful, wanton, malicious, oppressive,
 5   and in conscious disregard of Beyond Blond rights, justifying the imposition of punitive
 6   and exemplary damages under California Civil Code §3294.
 7
 8                                SIXTH CAUSE OF ACTION
 9               Statutory Unfair Competition, Cal. Bus. & Prof. Code § 17200
10         71.    Beyond Blond restates and incorporates by reference the allegations in
11   paragraphs 1-29 and 37-70 above.
12         72.    Defendants’ distribution and dissemination of communications with literally
13   false and misleading statements to Beyond Blond’s e-commerce partners, customers and
14   prospective customers constitutes unlawful and unfair business acts and unfair
15   competition in violation of § 17200 et. seq. of the California Business and Professions
16   Code. Defendants’ communications in bad faith have also resulted in a loss of Beyond
17   Blond’s professional services as customers are not exposed to Beyond Blond’s work and
18   cannot engage Beyond Blond to provide its services.
19         104. Beyond Blond is informed and believes and thereon alleges that unless
20   restrained by this Court, Defendants will continue the aforesaid unlawful and unfair
21   business acts, and pecuniary compensation will not afford Beyond Blond adequate relief
22   for the damage to its business in the public perception.
23
24                                   PRAYER FOR RELIEF
25         WHEREFORE Beyond Blond prays for judgment against Defendants, and each of
26   them, as follows:
27         A.     That judgment be entered in favor of Beyond Blond and against Defendants;
28         B.     The Court enter a declaratory judgment that:



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 1                    i.   the ‘644 Registration is invalid and unenforceable, the copyright is not
 2                         infringed, and the notice was sent in bad faith under 17 U.S.C. §
 3                         512(f);
 4                   ii.   the ‘644 Registration does not and cannot provide copyright
 5                         registration for Defendants’ logo, shown above, as a matter of law;
 6                  iii.   Defendants have no right to claim exclusive trademark rights in the
 7                         term “cartoon classics” either alone or in combination with a cartoon
 8                         design substituted for the “oo” letters in cartoon;
 9                  iv.    Defendants have no right to interfere with Beyond Blond’s use of the
10                         generic cartoon classics term, including as shown in the design format
11                         above;
12                   v.    Beyond Blond has not infringed any of Defendants’ trademark rights;
13         C.       That Defendant be ordered to abandon the ‘484 Application;
14         D.       That Defendant be ordered to immediately withdraw the takedown notices
15   sent to Amazon and be enjoined from issuing any takedown notices to Beyond Blond’s e-
16   commerce partners alleging infringement of Defendants’ purported trademark rights in
17   the term cartoon classics and any copyright registrations purportedly covering same;
18         E.       That on the Cal. Bus. & Prof. Code §§ 17200 causes of action, for an order
19   requiring the Defendants to restore any money or property that Defendants may have
20   acquired as a result of any act or practice constituting unfair competition, and an order
21   requiring Defendants to disgorge any profits that they acquired as a result of their unfair
22   competition;
23         F.       That on the trade libel/product disparagement cause of action, Beyond Blond
24   be awarded damages, punitive damages, and injunctive relief barring further trade libel
25   and product disparagement;
26         G.       That on the tortious interference with prospective economic advantage cause
27   of action, Beyond Blond be awarded actual damages according to proof at trial, punitive
28   damages, and injunctive relief;



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 1         H.     For an order finding that an award of pre and post-judgment interest is
 2   necessary to fully compensate Beyond Blond for the damage it has sustained;
 3         I.     For an order awarding to Beyond Blond all of its costs, including its
 4   attorneys’ fees incurred in prosecuting this action, including under 15 U.S.C. § 1117 and
 5   17 U.S.C. §512(f);
 6         J.     For an order requiring Defendants to provide notice to the public and to all
 7   customers and others with whom Defendants have been in contact, by means of letter or
 8   advertisement, as appropriate, notifying such persons of this lawsuit, and the injunctive
 9   decree rendered hereunder, and paying for corrective advertisements;
10         K.     For an order awarding to Beyond such other and further relief as the Court
11   may deem just and proper.
12
13   Dated: June 23, 2020                          Respectfully submitted,
14                                                 MILORD & ASSOCIATES, P.C.
15
                                                   /s/ Milord A. Keshishian
16
                                                   Milord A. Keshishian
17                                                 Attorneys for Plaintiff
18                                                 Beyond Blond Productions, LLC
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                                      COMPLAINT – Jury Demand
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 1                              DEMAND FOR JURY TRIAL
 2        Plaintiff, through their attorneys of record, hereby demand trial by Jury.
 3
 4   Dated: June 23, 2020                        Respectfully submitted,
 5                                               MILORD & ASSOCIATES, P.C.
 6
                                                 /s/ Milord A. Keshishian
 7                                               Milord A. Keshishian
 8                                               Attorneys for Plaintiff
                                                 Beyond Blond Productions, LLC
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                                                         EXHIBIT A

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 From: Milord Keshishian <milord@milordlaw.com>
 Sent: Thursday, March 26, 2020 11:29 AM
 To: Ben T. Lila <blila@mandourlaw.com>
 Cc: Stephanie Trice <stephanie@milordlaw.com>; Lorie Mallari <lorie@milordlaw.com>; Kimberly Wolfe
 <kimberly@milordlaw.com>
 Subject: ComedyMX Takedown Notices re Michelle Justice
 Importance: High

 Dear Mr. Lila:

 Your correspondence below has been forwarded to us for response. We are counsel for Ms.
 Justice, please forward all further communications to our attention. Ms. Justice takes all
 allegations of valid copyright infringement seriously and to evaluate the same. please provide
 by 5:00 p.m. on March 27, 2020 the copyright registrations and deposit material for the
 following takedown notices sent by your client to Amazon:

 CASE 6890999701          Cartoon Classics ‐ Vol. 1: 25 Favorite Cartoons ‐ 3 Hours
 CASE 6891043541          Cartoon Classics ‐ Vol. 2: 25 Favorite Cartoons ‐ 3 Hours
 CASE 6891006641          Cartoon Classics ‐ Vol. 3: 25 Favorite Cartoons ‐ 3 Hours
 CASE 6890994521          Cartoon Classics ‐ Vol. 4: 25 Favorite Cartoons ‐ 3 Hours
 CASE 6891030291          Cartoon Classics ‐ Vol. 5: 25 Favorite Cartoons ‐ 3 Hours
 CASE 6891048961          Cartoon Classics ‐ Vol. 6: 25 Favorite Cartoons ‐ 3 Hours

 In addition, by 5:00 p.m. on March 27, 2020, we expect to receive your client’s pre‐notification
 investigation report identifying (1) the protectible elements in your client’s work, and (2) the
 substantial similarity in the protectible elements of the copyrighted works and our client’s
 accused works.

 If we do not receive the requested information by said time and date, that will confirm your
 client’s lack of due diligence before issuing take down notice and entitle us to file counter‐
 notifications with Amazon. We look forward to immediate receipt of the requested
 information, which your client must have assembled prior to issuing the takedown notices.

 If you should have any additional questions or comments, please contact us.

 Sincerely,

 Milord A. Keshishian

 Milord & Associates, PC
 Patent, Trademark & Copyright Law
 10517 West Pico Blvd.
 Los Angeles, CA 90064
 Tel 310-226-7878
 www.milordlaw.com

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                                                          EXHIBIT B

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                                                #:26



 From: Ben T. Lila <blila@mandourlaw.com>
 Sent: Thursday, March 26, 2020 7:10 PM
 To: Milord Keshishian <milord@milordlaw.com>
 Cc: Stephanie Trice <stephanie@milordlaw.com>; Lorie Mallari <lorie@milordlaw.com>; Kimberly Wolfe
 <kimberly@milordlaw.com>; Joseph A. Mandour <jmandour@mandourlaw.com>
 Subject: RE: BB Productions Infringement (ComedyMX/6249.02‐006)

 Milord:

 We represent ComedyMX LLC (“ComedyMX”), owner of U.S. Trademark Serial No. 88/789,484 for
 CARTOON CLASSICS! (+Design). ComedyMX is also the owner of all copyright rights associated with
 its original stylized logo design that is the subject of multiple copyright registrations, including U.S.
 Copyright No. PAu003798644. See attached. ComedyMX has used the trademark and copyright logo
 design continuously in interstate commerce on certain goods and services including, but not limited to,
 entertainment services.

 We have observed that BB Productions is using our client’s CARTOON CLASSICS trademark and logo
 design without authorization to promote similar goods and services on the website Amazon.com. BB
 Production’s use of CARTOON CLASSICS is likely to cause confusion in violation of trademark and other
 unfair competition laws including, but not limited to, the Lanham Act (15 U.S.C. § 1051, et seq.). BB
 Production’s use is likely to lead the public to believe that its products and services are licensed by,
 sponsored by, or otherwise affiliated with ComedyMX which is not the case. Also, the unauthorized
 copying of our client’s logo design constitutes copyright infringement under the Copyright Act (17 U.S.C. §
 101, et. seq.).

 We demand that BB Productions immediately cease and desist all use of CARTOON CLASSICS and our
 client’s copyrighted design, including without limitation, on Amazon.com, in videos and on any other
 website. Should BB Productions not immediately address our client’s concerns, we will pursue all
 available remedies. Please contact me in writing by April 6, 2020 to confirm that your client has complied
 with the above.

 The demands asserted herein are with full reservation of all rights and remedies that our client may
 possess including, but not limited to, past and continuing profits, actual damages, treble damages,
 attorneys’ fees, claims of dilution and the right to injunction.


 Best Regards,
 Ben


 Ben T. Lila, Esq.
 Mandour & Associates, APC - Intellectual Property Law
 12121 Wilshire Boulevard, Suite 810
 Los Angeles, California 90025
 T: 310-656-3900
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                                                          EXHIBIT C

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 From: Milord Keshishian
 Sent: Friday, March 27, 2020 7:48 PM
 To: Ben T. Lila <blila@mandourlaw.com>
 Cc: Stephanie Trice <stephanie@milordlaw.com>; Lorie Mallari <lorie@milordlaw.com>; Kimberly Wolfe
 <kimberly@milordlaw.com>; Joseph A. Mandour <jmandour@mandourlaw.com>
 Subject: RE: BB Productions Infringement (ComedyMX/6249.02-006)

 Dear Ben:

 While I appreciate your quick response, the failure to provide our requested information
 confirms that ComedyMX’s takedown notices are in bad faith. I understand that you were
 probably handcuffed because ComedyMX simply lacks copyright protection to issue the
 takedown notices, but would have appreciated your forthright offer to immediately withdraw
 the baseless Digital Millennium Copyright Act takedown notices. Please be advised of your Rule
 11 obligations moving forward in this matter.

 My correspondence specifically requested ComedyMX’s pre-notification investigation analysis
 identifying the copyright registrations and (1) the protectible elements in your client’s work,
 and (2) the substantial similarity in the protectible elements of the copyrighted works and our
 client’s accused works. Although, your correspondence references out of hand U.S. Copyright
 registration No. PAu003798644, ComedyMX failed to provide the deposit material as
 requested, let alone identify the protectible elements and the alleged substantial similarity
 therewith. Instead, we are delivered a misrepresentation that the “Cartoon Classics” logo is
 copyrighted in the ‘644 registration. As you should be aware, a performing arts copyright
 registration only covers “(1) musical works, including any accompanying words; (2) dramatic
 works, including any accompanying music; (3) pantomimes and choreographic works; and (4)
 motion pictures and other audiovisual works.” Form PA. The Copyright Office printout,
 attached hereto, for the ‘644 registration confirms that the logo is not listed as a protectible
 element, nor could it as a matter of law.

 The use of the ‘644 performing arts registration to claim copyright registration ownership in the
 generic term “Cartoon Classics” is meritless because short phrases are not copyrightable. 37
 C.F.R. 202.1(a); Bernal v. Paradigm Talent & Literary Agency, 788 F.Supp.2d 1043, 1072
 (C.D.Cal.2010) (short phrases such as “I miss you,” “He's so funny,” “Stay away from this
 neighborhood,” and “Mmm. That's it” were “ordinary, common expressions that [were] not
 copyrightable”); see also Ets–Hokin v. Skyy Spirits, Inc., 225 F.3d 1068, 1081 (9th
 Cir.2000) (“Brand names, trade names, slogans, and other short phrases or expressions cannot
 be copyrighted, even if they are distinctively arranged or printed”). Thus, even inserting pupils
 and irises into the double “o” letters in cartoons does not rise to the level of protectible
 expression to be copyrightable because eyes appear in nature and are not afforded copyright
 protection. “These ideas, first expressed by nature, are the common heritage of humankind,
 and no artist may use copyright law to prevent others from depicting them.” Satava v. Lowry,
 323 F.3d 805, 811 (9th Cir. 2003). It is axiomatic that designs that are “standard, stock, or
 common to a particular subject matter or medium are not protectable under copyright




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 law.” Id., at 810; Aliotti v. R. Dakin & Co., 831 F.2d 898, 901 (9th Cir. 1987) (“No copyright
 protection may be afforded to the idea of producing stuffed dinosaur toys or to elements of
 expression that necessarily follow from the idea of such dolls.”). Further, any copyrighted
 expression must be “original.” Feist Pubs., Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345, 111
 S.Ct. 1282, 113 L.Ed.2d 358 (1991). “Original, as the term is used in copyright, means only that
 the work was independently created by the author ... and that it possesses at least some
 minimal degree of creativity.” Id. Here, a simple search of stock cartoon eyes immediately
 defeat ComedyMX’s claim of originality, even assuming arguendo the eyes are protectible,
 because ComedyMX merely copied preexisting clip art.




 ComedyMX even copied the shape and placement of the eyebrows. Assuming ComedyMX did
 actually have a copyright registration and did not copy the eyes from preexisting clip art,
 ComedyMX’s expression of the generic term “Cartoon Classics” is not substantially similar to
 the accused expression, as demonstrated by the side by side comparison below:




 But ComedyMX has a greater burden here than substantial similarity because eyes occur in
 nature and any infringement, assuming ComedyMX has any protectible rights, must be proven
 by verbatim copying. Where a design incorporates stock or commonplace images, it is entitled
 to, at most, a very “thin” or “weak” copyright – assuming ComedyMX is entitled to any
 protection. Satava, 323 F.3d at 812 (“thin” copyright in jellyfish design); Franklin Mint Corp. v.
 Nat’l Wildlife Art Exchange, 575 F.2d 62, 65 (3d Cir. 1978) (“weak” copyright in common
 elements of bird design). In those circumstances, only virtually identical copying is
 prohibited. Satava, 323 F.3d at 812 (“thin copyright... protects against only virtually identical
 copying”); see also Sid & Marty Krofft Television Prods., Inc. v. McDonalds Corp., 562 F.2d 1157,



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 1168 (9th Cir. 1977) (where limited number of ways to express concept, “there will be
 protection against nothing other than identical copying of the work”).

 Thus, the only conclusion that can be drawn based on ComdyMX’s lack of copyright registration
 in its generic logo is the DMCA copyright takedown notices were in bad faith and must
 immediately be withdrawn.

 Your reference to the trademark application ComedyMX filed last month, which is not yet
 registered, does not save ComedyMX from its bad faith DMCA copyright takedown
 notice. Amazon does not allow takedown notices for unregistered trademarks, thus there was
 no trademark notification filed by ComedyMX. Moreover, the term “cartoon classics” is generic
 and refers to classic cartoons and was used as such by Walt Disney Cartoon Classics series from
 1983 to 1986. It has also been used by numerous others, predating ComedyMX’s alleged first
 use date of 2015. See September 11, 2008 Wired article titled “10 Cartoon Classics to Share
 with your Kids” as merely one example of many. “A generic term cannot be registered as
 a trademark because such a term cannot function as an indication of source.” BellSouth Corp.
 v. DataNational Corp., 60 F.3d 1565, 1569 (Fed. Cir. 1995). Thus, despite the addition of the
 eyes, the mark is generic and the nascent application will not mature to registration because
 even if the U.S. Patent and Trademark Office does not refuse registration, our client will
 certainly file an opposition thereto.

 Despite your valiant efforts to protect ComedyMX, our detailed analysis provides authority and
 proof of ComedyMX’s bad faith. But in an effort to resolve this matter expeditiously,
 ComedyMX will agree to immediately withdraw its DMCA notification of infringement issued to
 Amazon, in return our client agrees to not depiction of eyes in the term “cartoon.” Please
 advise by no later than 5:00 p.m. on March 30, 2020 if ComedyMX has immediately withdrawn
 the six takedown notices issued to Amazon.

 Sincerely,

 Milord A. Keshishian

 Milord & Associates, PC
 Patent, Trademark & Copyright Law
 10517 West Pico Blvd.
 Los Angeles, CA 90064
 Tel (310) 226-7878
 Fax (310) 226-7879
 www.milordlaw.com

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                               Library buildings are closed to the public until further notice, but the U.S.
                                               Copyright Office Catalog is available. More.




         Copyright Catalog (1978 to present)
         Search Request: Left Anchored Copyright Number = PAu003798644
         Search Results: Displaying 1 of 1 entries




                                               8thManDVD Copyright Video 1, et al.

                       Type of Work: Motion Picture
         Registration Number / Date: PAu003798644 / 2016-01-26
                    Application Title: 8thManDVD Copyright Video 1, et al.
                                Title: 8thManDVD Copyright Video 1, et al.
                         Description: Electronic file (eService)
                Copyright Claimant: ComedyMX LLC. Address: P.O. Box 896, Pine Brook, NJ, 07058, United States.
                    Date of Creation: 2016
          Authorship on Application: ComedyMX LLC, employer for hire; Citizenship: United States. Authorship: entire
                                       motion picture.
             Rights and Permissions: ComedyMX LLC, P.O. Box 896, Pine Brook, NJ, 07058, United States
                     Copyright Note: Basis for Registration: Unpublished collection.
                            Contents: 8thManDVD Copyright Video 1.
                                       8thManDVD Copyright Video 2.
                                       8thManDVD Copyright Video 3.
                                       8thManDVD Copyright Video 4.
                                       8thManDVD Copyright Video 5.
                                       8thManDVD Copyright Video 6.
                                       8thManDVD Intro Video 1.
                                       8thManDVD Intro Video 2.
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                                       8thManDVD Intro Video 4.
                                       8thManDVD Intro Video 5.
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